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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA




April 29, 2014

The Honorable Madeline Hughes Haikala
United States District Court
Hugo L. Black U. S. Courthouse
1729 Fifth Avenue North
Birmingham, AL 35203

Dear Judge Haikala:

For the past four years I have been involved with Huntsville City Schools as a parent, a PTA
President, and a Vice-President of the Huntsville Council of PTAs. Prior to becoming a parent, I
spent eight years as a teacher in the Washington, DC area. These experiences have allowed me to
appreciate the past three years of positive growth in Huntsville City Schools (HCS) under the
leadership of Superintendent Dr. Casey Wardynski. I have seen a system-wide commitment to
providing the best education possible for all of Huntsville's students. In large and small group
meetings and in one-on-one conversations, I have personally witnessed the Superintendent
advocate for a school system that will benefit all city students, regardless of zip code or
neighborhood. This kids-first commitment has become an indelible hallmark of Dr. Wardynski's
tenure in Huntsville.

On Thursday, April 3, 2014, I had the opportunity to attend Commissioner Robert "Bob"
Harrison's community meeting on education. I found it interesting that Commissioner Harrison
would schedule his meeting at the exact same date and time as a Huntsville City Board of
Education meeting. Most of the educational experts associated with the school system had to
attend the regularly scheduled Board meeting and could not attend Commissioner Harrison's
gathering. I was shocked and disappointed by many of the claims made by both Commissioner
Harrison and members of his panel that evening. Several of their comments were either untrue
or based on outdated statistics. Commissioner Harrison stated that only schools in his district
were being affected by rezoning. I explain below why this is not correct. Dr. John Dimmock, a
retired science professor from the University of Alabama in Huntsville, cited Alabama Reading
and Math Test (ARMT) data from spring 2010--over a year before Dr. Wardynski was even
hired-as proof of the performance gap between white and black students. At the end of the
meeting, volunteers handed out copies of Commissioner Harrison's letter that he had submitted
for your honor's review. After attending his community meeting and reading his letter, I felt the
need to respond to his inaccuracies with my own letter in support of Huntsville City Schools.

In the first paragraph of page two of Commissioner Harrison's letter, he states, "I have not been
offered an opportunity to meaningfully participate in the process of drafting the School
Construction and Student Assignment Plan and in seeking Unitary Status by the Board of
Education, issues pending before you." According to Madison County statue, the Act of 1821
established the role of the commissioners "to levy the county tax, establish, maintain, and
discontinue county roads, bridges, and ferries." No further information is given regarding their


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role in schools. According to the Huntsville City Schools bylaws, "The Huntsville City Board of
Education is the policy-making body of the School District. Its powers and duties are set by state
law. The Board is responsible for educational planning and evaluation, staffing and appraisal,
school facilities, financial resources and communication." It is the role of the elected officials of
the Huntsville Board of Education, not the Madison County Commission, to propose changes in
school construction and/or student assignment and to attain unitary status.

The Superintendent and Board of Education have provided countless opportunities in a variety of
settings for the public to learn about and comment on their Student Assignment Plan (hereinafter
"Plan"). On January 16, 2014, the Superintendent presented an hour long detailed presentation of
the Plan. The public was invited to ask questions and comment on the Plan that evening.
Additionally, the Superintendent's presentation ran on Huntsville's education television channel
(ETV) several times a day for many weeks. After introducing the Plan to the public, the
Superintendent and Board Members met with elected officials as well as church and civic groups
throughout the city. Community meetings were held at each of the six city high schools between
January 30 and February 5, 2014. Members of the community had an opportunity to ask
questions and make comments on the Plan at each of these events. The topics included not only
the school assignment zones but also information regarding facilities, transportation, curriculum,
safety, and Advanced Placement (AP) programs. The Superintendent, board members, and HCS
staff members were available to a~wer questions at these one and a half to two hour sessions. I
personally spoke with the Superin!fndent about the influence of the Plan on my sons' school. In
addition to these community meetings, I am aware that the Superintendent frequently reaches out
to community groups to share information about the school system. Rena Anderson, HCS
Director of Community Engagement, confirmed that the Superintendent met with dozens of
groups during the months of January, February, and March 2014. These groups included but
were not limited to the North Huntsville Pastors Group (one of the groups that has spoken out
against the Plan), the South Huntsville Civic Association, the Northwest Cluster of PTAs, the
Huntsville Council of PTAs, the PTA presidents from individual schools, the Chamber of
Commerce, The Schools Foundation, the Committee of 100, the Hispanic Parents Association,
the Neighborhood Council Association, the Whitesburg Civic Association Officers, the Board of
Realtors Association, and the Golden Kiwanis. Kenny Anderson, the Director of Multicultural
Affairs for the city of Huntsville and host of a local television show, interviewed Dr. Wardynski
about the Plan. On March 10, 2014, at another Board of Education meeting the Superintendent
presented a summary of the legal brief that HCS filed in regards to the Plan. The community has
had ample opportunities to learn about the Plan and what is going on in HCS. Ultimately,
however, the responsibility of assigning students to schools and achieving unitary status rests
with the Superintendent and the Board of Education.

In the last paragraph of page three of Commissioner Harrison's letter, he asserts, "In the Board of
Education student assignment plan, no significant redistricting effort has been instituted in south
or west Huntsville areas which are predominantly White." At his community meeting on April 3,
2014, he incorrectly claimed that Huntsville City Schools' student assignment plan only affected
schools in his district. He specifically noted that West and South Huntsville schools were not
being influenced. When an audience member asked how the Plan would affect South Huntsville
schools such as Chaffee Elementary School or Whitesburg P-8 School, Commissioner Harrison
admitted that he had not seen any changes for those two schools in either the Huntsville City



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Schools Plan or the Department of Justice Plan. The Plan, however, calls for an increase from 14
percent to 19 percent of black live-in population for Chaffee and from 27 percent to 33 percent
for Whitesburg. In the last paragraph of page thirty-three (originally marked page thirty by HCS)
of the brief filed by Huntsville City Schools on March 10, 2014, several other schools are listed
in regards to their increase or decrease in black live-in population. Clearly, schools outside of
Commissioner Harrison's district are being affected.

In the first paragraph of page four of Commissioner Harrison's letter he states, "Students in
majority Black schools lack access to the array of advanced courses and science programs at
schools that are identified as racially White." When reviewing the enrollment information
provided in Exhibit A.1 of Document 287-1 filed on February 26, 2014, by the Department of
Justice, the enrollment for the 2012-2013 school year for Grissom High School is listed as 1787.
For the same school year the enrollment of Johnson High School is listed as 560. For the
upcoming 2014-2015 school year there will be twenty-five AP courses offered at Grissom and
eight AP courses offered at Johnson. Johnson has one-third as many students as Grissom and
therefore one-third as many AP courses. Additionally, during the 2010-2011 school year, the
administrators at Johnson High School and Butler High School removed themselves from the A+
College Ready Program which works to "dramatically increase the number of students in
Alabama taking math, science, and English AP courses, earning qualifying scores on AP exams,
and attending and succeeding in college." This program provides professional development for
AP teachers on Saturdays and during the summer and also offers cash incentives for teachers and
students when students earn qualifying scores on AP tests. The teachers at these two schools
were not interested in spending the extra time needed in professional development during the
summer and on Saturdays. The current Superintendent has reestablished and grown AP programs
at these two schools in order to provide all students with the opportunity to participate and
succeed in these advanced courses.

Similar comparisons can be made at the middle school level. According to Document 287-1,
Exhibit A, Page 3, the enrollments at Davis Hills Middle School (90 percent black) and Ed White
Middle School (89 percent black) are 382 and 463 respectfully. The enrollments at Huntsville
Middle School (79 percent white) and Hampton Cove Middle School (83 percent white) are 556
and 615 respectfully. According to Document 287-2, Exhibit B, Page 5, during the 2013-2014
school year, Davis Hills Middle School offered nine core honors/advanced courses, Ed White
Middle School offered eleven, Huntsville Middle School offered fourteen, and Hampton Cove
Middle School offered fifteen. The school with the largest total enrollment offers the most core
honors/advanced courses and the school with the smallest total enrollment offers the least
number of core honors/advanced courses irrespective of race.

In addition to my concerns about Commissioner Harrison's letter, I would like to address part of
the Department of Justice's Student Assignment Plan. As a parent of two students at Monte Sano
Elementary School, I have great concerns about the Department of Justice Plan to bus students
from the top of Monte Sano Mountain down Bankhead Parkway to the Chapman School and Lee
High School. On Tuesday, November 19, 1968, a fifteen-year old boy from Monte Sano was
killed and twenty-one others were injured when a school bus in which they were traveling turned
over three times on this curvy, steep mountain road while heading to Chapman Junior High. The
Department of Justice Plan would pose significant safety risks for current students on that bus



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route. If instead the intent is for buses to travel down Monte Sano Boulevard to Chapman and
therefore avoid the risky route of Bankhead Parkway, these buses would pass directly by
Huntsville Middle School on their way to the Chapman School. It defies common sense to have
students travel past a closer school in order to attend one further away.

Finally, I would like to mention several initiatives that the Superintendent has or will be
implementing to benefit Huntsville City Schools students, especially those in Northwest
Huntsville.
   • Hiring Practices: In the past, only principals interviewed and hired teachers to fill
        openings at their schools. This created an imbalance in access to highly qualified
        teachers. Obviously, some schools would receive a higher number of quality applicants
        than others. The Superintendent changed hiring practices so that applicants are first
        screened at the district level before being interviewed by school principals. This ensures
        that all schools have access to highly qualified teachers.
   • Digital 1: 1 Initiative: Beginning in the fall of 2012 all third through twelfth graders in
       Huntsville City Schools were issued a laptop to use in school and at home. This closure
        in the "Digital Divide" has allowed students to have access to current curriculum and
        resources. Huntsville City Schools has partnered with agencies throughout the city
        including the Public Housing Authority to make sure that students have access to the
        internet after the school day has ended. Additionally, students in kindergarten through
        second grade have access t~ iPads in the classroom.
   • Pre-kindergarten (PreK): Over the past three years, Huntsville City Schools has invested
        $2 million in local funding into its PreK program. Over 40 percent of current HCS
        kindergarten students attended a HCS PreK taught by a certified teacher and aide. This
        focus on PreK by our current Superintendent has allowed Huntsville to become a leader
        in PreK education throughout the state and more importantly has given countless
        students, especially those whose families may not have been able to afford it otherwise,
        access to a high quality PreK program.
   • Child Nutrition Program: The current Superintendent has initiated three separate
        programs to ensure that students are well fed at the beginning of the school day, the end
        of their school day, and during the summer vacation. Because school cafeterias were
        designed for multiple shifts at lunchtime, serving breakfast can be a challenge. The
       Breakfast in the Classroom program brings breakfast to the students so that they can
       begin their school day on time and still have a chance to eat breakfast. Secondly, last
        summer a summer feeding program sponsored by the United State Department of
        Agriculture and provided by HCS served over 98,000 meals-three times more than any
       other school system in Alabama. Children under the age of eighteen were able to eat
       breakfast, lunch, and dinner for free while adults paid $2.50 for breakfast and $4.00 for
        lunch or dinner. As the Superintendent stated in his State of the Schools Address on April
       22, 2014, students need nutrition during the summertime as well as during the school year
       to continue growing and being healthy. Finally, a supper program has been initiated in
        seven schools during this school year to provide an evening meal for students and their
       families before they leave afterschool activities or extended day programs at the schools.
       This past month over 27,000 meals have been served. Both the summer feeding program
        and supper program have been placed in Title I schools.




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      •   Jemison High School Busing Plan: Currently transportation is only provided for high
          school students who live more than five miles away from their school. With the building
          of the new Jemison High School in North Huntsville, 70 percent of the students will be
          within a two-mile radius of the school. Appendix D of the Plan allows for most of the
          remaining 30 percent, primarily those formerly assigned to Butler High School, to be
          provided transportation to Jemison High School. Students cannot learn if they are not in
          school. By providing bus transportation, HCS will ensure that students will be able to get
          to school on time regardless of weather or family situation.
      •   Jemison High School College Academy Magnet Program: By teaming up with area
          colleges, HCS will be able to allow high school students accepted into the Jemison High
          School College Academy Magnet Program to earn dual credit and graduate from high
          school with both a high school diploma and an Associates of Arts and Sciences degree at
          no additional cost to the students and their families. A similar program launched in
          Tampa, Florida, had over two thousand students apply for less than a thousand openings
          in the first year of this rigorous program. A similar program in Huntsville would attract
          strong students throughout the district and aid in the desegregation of Jemison High
          School.

Your Honor, I firmly believe that Huntsville City Schools is heading in the right direction to
benefit all of its students. The current leadership team is committed to providing a world-class
education for each and every one of its students. It is often said that a chain is only as strong as
its weakest link. The Superintendent understands the importance of helping all students achieve
the high standards set before them. I encourage you to listen carefully to the voices of those who
are involved with the schools and who can provide insight and perspective on the current state of
Huntsville City Schools.


Sincerely,

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A Kvach
Vice-President for Family Engagement, Huntsville Council of PTAs



cc:       Norman Chachkin
          NAACP Legal Defense Fund

          Sarah Hinger
          U.S. Department of Justice




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